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Case 17-07592-JMC-13   Doc   Filed 05/11/21   EOD 05/11/21 10:56:27   Pg 4 of 5
 Case 17-07592-JMC-13          Doc     Filed 05/11/21     EOD 05/11/21 10:56:27        Pg 5 of 5




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 17-07592-JMC-13

 Keith Allen Bliss
                                                  Chapter 13
 Amy Kristen Bliss

 Debtors.                                         Judge James M. Carr

                                 CERTIFICATE OF SERVICE

I certify that on May 11, 2021, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Robert Brynjelsen, Debtors’ Counsel
          inn@geracilaw.com

          Ann M. DeLaney, Trustee
          ecfdelaney@trustee13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 11, 2021, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Keith Allen Bliss, Debtor
          Amy Kristen Bliss, Debtor
          11075 E. 200 N.
          Greentown, IN 46936
                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
